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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

PENOVIA LLC,

                      Plaintiff,                    Civil Action No. 2:14-cv-00611-JRG
        v.

MICROSOFT CORPORATION,

                      Defendant.

   .

                                            ORDER

Having considered Plaintiff Penovia LLC's ("Plaintiff") Notice of Voluntary Dismissal, the Court

finds that good cause exists for granting the notice. The Notice of Voluntary Dismissal is

GRANTED. All claims asserted by Plaintiff against Defendant Microsoft Corporation are

hereby dismissed with prejudice. Each party will bear its own costs and attorneys' fees.

        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 9th day of June, 2014.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
